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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

EMILY COULTER,                                 :
                                               :
                  Plaintiff,                   :   CIVIL ACTION
                                               :
                  v.                           :   NO. 5:18-cv-01538-JLS
                                               :
CHASE BANK USA, N.A.,                          :
                                               :
                  Defendant.                   :
                                               :

                       DEFENDANT’S PRETRIAL MEMORANDUM

       Pursuant to this Court’s Scheduling Order dated January 29, 2020 (ECF No. 109), Local

Rule 16.1(c), and this Court’s Individual Practices and Procedures, Defendant Chase Bank USA,

N.A., now known as JPMorgan Chase Bank, N.A. (“Chase”), through its undersigned counsel,

hereby submits this Pretrial Memorandum.

I.     NATURE OF THE ACTION AND BASIS OF JURISDICTION

       In her Second Amended Complaint (ECF No. 78), Plaintiff alleges that she notified

Experian that her Chase accounts were inaccurately reporting the “Date of Status” and despite

receiving notice of these disputes, Chase did not update the Chase accounts to reflect the alleged

accurate “Date of Status” or mark the Chase Accounts as “in dispute.” Plaintiff claims that she

made these disputes in or around October 21, 2017 (the “October 2017 Disputes” or the “Subject

Disputes”). On these allegations, Plaintiff purports to bring causes of action against Chase for

alleged violations of sections 1681n and 1681o of the Fair Credit Reporting Act (“FCRA”).1

       Plaintiff is seeking to hold Chase liable for allegedly furnishing information that it did

not, and does not, furnish to CRAs, as well as a bare procedural violation. Chase maintains that


1
       15 U.S.C. §§ 1681, et seq.
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it is not liable to Plaintiff for any amount and Plaintiff cannot prove her case for six separate and

independent reasons:

       1.      Chase does not furnish the Date of Status: It is undisputed that Chase does not

furnish the “Date of Status.” Rather, the “Date of Status” is a unique Experian field that appears

only on Experian consumer disclosures. Plaintiff is seeking to hold Chase liable for information

it does not furnish to CRAs and information it has no control over.

       2.      No obligation to mark the Accounts “in dispute”: Chase never had an obligation

to mark the Chase accounts in dispute because the October 2017 Disputes – the only disputes at

issue in this action–were not meritorious or bona fide on their face. The law is well-settled that a

furnisher does not have an obligation to mark an account “in dispute” upon receipt of a non-

meritorious or non-bona fide dispute. The fact that Chase does not furnish a “Date of Status”

makes Plaintiff’s disputes not bona fide or meritorious. Moreover, the October 2017 Disputes

were communicated to Chase through identical Automated Credit Dispute Verifications

(“ACDVs”), which provided only the following information to Chase:




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There is no reference to the “Date of Status” anywhere on the ACDVs. The “Date of Status” is

not information that Plaintiff specifically disputed in the ACDVs, nor is it information that Chase

could have addressed in the ACDVs.

       3.      Chase’s investigation was reasonable: Plaintiff cannot show that Chase failed to

perform a reasonable investigation upon notification of the October 2017 Disputes given the

scant information that was provided to Chase relating to the Subject Disputes.

       4.      Plaintiff did not suffer any harm: As a matter of law, Plaintiff cannot obtain any

damages because she cannot demonstrate that she suffered any harm as a result of Chase’s

alleged failure to perform a reasonable investigation of the October 2017 Disputes.

       5.      Consumer disclosures have no impact on credit decisions: Plaintiff cannot show

that any harm flowed to her from the allegedly inaccurate “Date of Status” because the field only

appears on consumer disclosures, which are not available to third-parties and, therefore, cannot

impact credit decisions.

       6.      The disputed information was updated: Plaintiff could not have been harmed

because Experian, the party responsible for the Date of Status field, changed the challenged

information to what Plaintiff believes it should have been.

       As a general matter, this Court has original jurisdiction over claims arising under the

FCRA pursuant to 28 U.S.C. § 1331 and 15 U.S.C. § 1681p.

II.    STATEMENT OF FACTS

       A.      Statement Of Undisputed Facts

       The following joint stipulation of material facts was submitted to the Court in connection

with the parties’ respective summary judgment motions. See ECF No. 86-2.

       1.      Plaintiff had two credit card accounts with Chase bearing account number

426684137180XXXX and 441712304702XXXX, respectively (the “Chase Accounts”).


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         2.    On April 29, 2015, Plaintiff filed for bankruptcy under Chapter 7 in the United

States Bankruptcy Court for the Eastern District of Pennsylvania.

         3.    Plaintiff identified the Chase Accounts as belonging to her in the schedules she

filed in her bankruptcy proceeding.

         4.    On September 3, 2015, Plaintiff received a discharge in her bankruptcy.

         5.    Experian has a data field called the “Date of Status” on its consumer disclosures.

         6.    Plaintiff’s July 24, 2017 Experian consumer disclosure report showed “July 2017”

as the “Date of Status” for the Chase Accounts.

         7.    On October 29, 2017, Chase received notice of a dispute concerning the Chase

Accounts from Experian via ACDVs (hereinafter “October 29, 2017 ACDVs”).

         8.    The October 29, 2017 ACDVs, like all ACDVs, do not contain a “Date of Status”

field.

         9.    Chase reviewed the October 29, 2017 ACDVs and provided a response to

Experian by the November 8, 2017 response date.

         10.   Chase did not mark the Chase Accounts in dispute in response to its receipt of the

October 29, 2017 ACDVs.

         11.   The “Date of Status” for the Chase Accounts in Experian’s October 30, 2017

Experian “Results Summary” appeared as April 2015 (what Plaintiff believes should have been

the correct Date of Status), and appeared that way on subsequent Experian consumer disclosures.

         12.   Plaintiff believes that her “rights were violated” when the reporting of the alleged

inaccurate information occurred and she believes she’s “owed something.”




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       13.     Plaintiff testified that she did not know her credit score as of January 8, 2019,

when she was deposed in this action, nor did she know on that date what her credit score was

back in August of 2017.

       14.     Since the alleged inaccurate “Date of Status” appeared on her Experian consumer

disclosure, Plaintiff has not applied for and been denied credit.

       15.     Plaintiff has since applied for and obtained credit from various institutions.

       B.      Defendant’s Additional Statement of Facts

       1.      Plaintiff is married to Ramsey Coulter. Pl. Dep. Tr. at 12:4-9.

       2.      Plaintiff is the owner of Coulter Credit, a credit repair company managed by her

husband. Id. at 14:23-34; 15:1-5.; see also Ramsey Coulter Dep. Tr. at 23:12-21.

       3.      Coulter Credit refers clients to Zemel Law LLC, as well as other attorneys.

Ramsey Coulter Dep. Tr. 10-18,

       4.      At the time of her deposition, Plaintiff was unable to articulate what her damages

were and Plaintiff could not monetize what her alleged damages were. Pl. Dep. Tr. 58:6-23;

59:10-14, 24; 60-1-5.

       5.      Plaintiff did not review her credit report between October 3, 2017 and November

27, 2017. Pl. Dep. Tr. at 5-9.

III.   MONETARY DAMAGES CLAIMED

       Plaintiff is seeking actual damages, statutory damages, punitive damages, costs, and

attorneys’ fees. For the reasons set forth in Section X below, Plaintiff should be precluded from

offering any evidence or testimony at trial about her purported actual damages because she did

not produce any evidence of her claimed damages during discovery.

       Chase denies that Plaintiff has suffered any damages or is entitled to an award of any

damages. Chase seeks a verdict in its favor.


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IV.     TRIAL WITNESSES

        A.      Liability Witnesses

                David Rivera (or a representative of Chase)
                c/o Counsel for Chase
                Jenny N. Perkins
                Ballard Spahr LLP
                1735 Market Street, 51st Floor
                Philadelphia, PA 19103
                (215) 864-8378

                Plaintiff Emily Coulter
                c/o Counsel for Plaintiff
                Daniel Zemel
                Zemel Law LLC
                1373 Broad Street
                Suite 203-C
                Clifton, NJ 07013

                Any witness identified by Plaintiff who has not been excluded

        B.      Damages Witnesses

                Plaintiff Emily Coulter
                c/o Counsel for Plaintiff
                Daniel Zemel
                Zemel Law LLC
                1373 Broad Street
                Suite 203-C
                Clifton, NJ 07013

                Any witness identified by Plaintiff who has not been excluded

V.      SCHEDULE OF DEFENDANT’S EXHIBITS


EXHIBIT                                  DOCUMENT                              BATES
NUMBER                                                                        NUMBER
  D-1           10/29/17 ACDV for Chase Account 426684137180XXXX           CHASE 00004-
                                                                           00006
      D-2       10/29/17 ACDV for Chase Account 441712304702XXXX           CHASE -00055-
                                                                           00057
      D-3       11/20/15 Letter from Plaintiff to Experian                 EXPERIAN_18-
                                                                           CV-1538_000001
      D-4       Affidavit of Plaintiff                                     ECF No. 43
      D-5       All pleadings filed in this case                           None




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Chase reserves the right to amend or supplement its exhibit list at a later date.

VI.    ESTIMATED LENGTH OF TRIAL

       Chase estimates that a trial of this matter will take one to two days.

VII.   SPECIAL COMMENTS REGARDING LEGAL ISSUES

       A.      Plaintiff Lacks Standing To Pursue Her Claims At Trial

       As set forth in Chase’s pending motion for summary judgment, Plaintiff lacks standing to

pursue her claims as Plaintiff did not suffer an injury in fact that is fairly traceable to the

challenged conduct of Chase, and that is likely to be redressed by a favorable judicial decision.

See Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016) (setting forth the elements of standing

and holding that a bare procedural violation of a consumer protections statute does not confer

standing on a plaintiff without actual harm). Plaintiff has offered no admissible evidence that

Chase’s investigation of the October 2017 disputes caused her harm. Nor has Plaintiff offered

any evidence that she suffered any harm because Chase did not mark the Chase Accounts “in

dispute,” after responding to the ACDVs. See, e.g., Foster v. Afni, Inc., No. 2:18-CV-12340-

TGB, 2020 U.S. Dist. LEXIS 55579, at *12 (E.D. Mich. Mar. 31, 2020) (“Because the record is

devoid of any evidence from which a jury could find that Plaintiff's credit score changed because

Defendant failed to report her debt as disputed, or that she suffered emotional distress, Plaintiff

has not shown a concrete harm to confer Article III standing.”).           Plaintiff testified at her

deposition that she did not know what her credit score was at the time of her deposition, she did

not know what her credit score was in August 2017, and she could not recall a time when she

knew what her credit score was. See Pl. Dep. Tr. 148:3-23.

       Accordingly, Chase is entitled to summary judgment on Plaintiff’s claims because after

the completion of discovery, with multiple extensions, Plaintiff has not established that she

suffered any actual harm as result of Chase’s investigation of the October 2017 disputes.


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       B.      Plaintiff Cannot Establish Her Claim For Negligent Noncompliance With
               The FCRA Because Plaintiff Has No Evidence Of Actual Damages

       As set forth in Chase’s pending motion for summary judgment, Plaintiff’s claim of

Chase’s negligent noncompliance with the FCRA fails as a matter of law because she cannot

establish actual damages as a result of Chase’s challenged conduct. To succeed on a FCRA

claim, a plaintiff must prove her entitlement to damages under either a negligence or willfulness

theory. Horsch v. Wells Fargo Home Mortg., 94 F. Supp. 3d 665, 677-78 (E.D. Pa. 2015)

(“FCRA does not hold furnishers strictly liable for failing to investigate and rectify disputed

credit information. Rather, only willful or negligent violations will expose a furnisher to civil

liability.”) (citing § 1681n (willful noncompliance); § 1681o (negligent noncompliance). A

plaintiff alleging negligent noncompliance can recover only actual damages. Horsch, 94 F. Spp.

3d at 678; see also 15 U.S.C. § 1681o(a)(1)-(2).

       Under a negligent noncompliance theory, a plaintiff must establish actual damages

attributable to the defendant's unreasonable investigation. See Van Veen v. Equifax Info., 844 F.

Supp. 2d 599, 609 (E.D. Pa. 2012) (“As I already explained, Plaintiff does not have a cause of

action for Defendant's alleged inaccurate reporting.    Rather, Plaintiff can recover only for

Defendant's alleged failure to conduct a reasonable investigation of his dispute after receiving

notice from a CRA. Accordingly, Plaintiff can recover only for those damages caused by

Defendant's unreasonable investigations.”) Plaintiff has not produced any evidence that she

suffered any damages traceable to Chase’s challenged conduct.

       C.      Plaintiff Cannot Establish Her Claim For Willful Violation Of The FCRA
               Because Plaintiff Has Provided No Evidence That Chase’s Investigation Was
               Unreasonable

       As explained in Chase’s pending motion for summary judgment, to prove willfulness,

Plaintiff carries the heavy burden of showing that Chase knowingly and intentionally committed



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an act in conscious disregard for Plaintiff’s rights. See Safeco Ins. Co. of America v. Burr, 551

U.S. 47, 57-58 (2007).        As a matter of law, only defendants who engaged in willful

misrepresentations or concealments have committed a willful violation of the FCRA and are

subject to liability under §1681n. See Stevenson v. TRW, Inc., 987 F.2d 288, 294 (5th Cir. 1993);

see also Cushman v. TU Corp., 115 F.3d 220, 227 (3d Cir. 1997). Plaintiff cannot meet her

heavy burden of establishing that Chase knowingly and intentionally committed an act in

conscious disregard for Plaintiff’s rights and there is absolutely no evidence that Chase engaged

in willful misrepresentations or concealments with respect to its investigation of the October

2017 Disputes.

VIII. ALL STIPULATIONS OF COUNSEL

        As of the date of this submission, the parties jointly submitted a statement of undisputed

facts with their respective summary judgment motions. See supra at Section II.A. As the

parties’ pretrial memorandums are due concurrently, Chase anticipates that the parties should be

able to reach additional stipulations prior to trial.

IX.     STATEMENT OF OBJECTIONS TO THE ADMISSIBILITY OF EXHIBITS
        BASED ON AUTHENTICITY____________________________________________

        Chase submits the following objections to the admissibility of certain exhibits that

Plaintiff included on her exhibit list. For ease of reference, Chase submits all other admissibility

objections it has with respect to the documents listed below.

Exhibit        PLAINTIFF PROPOSED EXHIBIT                     BASIS FOR AUTHENTICITY
 No.                                                             OBJECTION & OTHER
                                                             ADMISSIBILITY OBJECTIONS
13.                                                         Authenticity Objection:
           August 18, 2017 Letter from Plaintiff to
           Experian                                            FRE 901(b)(1) – Plaintiff testified
                                                                that she does not have personal
               Produced by Plaintiff without bates-            knowledge of this letter because
                number                                          she did not write it; her husband
                                                                did. Plaintiff also does not have


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                                           personal knowledge that the letter
                                           was mailed.

                                      Other Admissibility Objections:

                                          FRE 1002 – Unsigned purported
                                           copy of letter does not constitute an
                                           original writing, thereby violating
                                           the best evidence rule. See Pl.
                                           Dep. Tr. at 4:4-24; 47:1-7.

                                          An original signed copy of the
                                           letter exists, but Plaintiff did not
                                           retain a copy of the signed letter.
                                           See Ramsey Coulter Dep. at 54:15-
                                           24; 55:1-21.

                                          FRE 402; 403 – Irrelevant evidence
                                           is not admissible. Evidence that is
                                           unfairly prejudicial and that would
                                           mislead the jury is not admissible.
                                           Discovery established that Chase
                                           never received notice of Plaintiff’s
                                           August 2017 Dispute. Chase was
                                           never sent this letter or a
                                           corresponding       ACDV       from
                                           Experian. Plaintiff’s August 2017
                                           Dispute was the subject of
                                           Plaintiff’s original complaint and
                                           amended complaint in this action.
                                           In her motion for leave to file a
                                           second amended complaint (ECF
                                           No. 67), Plaintiff admitted that
                                           Chase never received the August
                                           2017 Dispute. See ECF No. 67 at
                                           p. 2 (“Through the recent discovery
                                           of disclosed documents received
                                           from Defendant Chase Bank USA,
                                           N.A., and the deposition of
                                           Defendant on March 6, 2019,
                                           Plaintiff has confirmed that the
                                           dispute that formed the basis of the
                                           current        Complaint        was
                                           mysteriously never received by
                                           Defendant.”




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2, 5, 6    (i) Plaintiff’s July 24, 2017 Experian           Authenticity Objection:
           Consumer Disclosure
                                                               FRE 901(b)(1) - Plaintiff does not
           (ii) Plaintiff’s October 3, 2017 Experian            have personal knowledge of how
           Consumer Disclosure                                  Experian credit reports or credit
                                                                disclosures are created. See, e.g.,
           (iii) Plaintiff’s November 27, 2017                  Egan v. Idaho Credit Union, No.
           Experian Consumer Disclosure                         4:15-cv-00471-DCN, 2017 U.S.
                                                                Dist. LEXIS 161634, at *9 (D.
               Produced by Plaintiff without bates-            Idaho Sept. 29, 2017) (a credit
                number                                          report may only be deemed
                                                                admissible with testimony from an
                                                                individual with actual knowledge
                                                                of how the credit reports were
                                                                created); Gannon v. IC Sys., No.
                                                                09-60302, at *4 (S.D. Fl. Sept. 25,
                                                                2009) (“The Court's own research
                                                                into the admissibility of credit
                                                                reports under the business record
                                                                exception reveals that such reports
                                                                are admissible when there is
                                                                testimony from someone at the
                                                                credit bureau with knowledge of
                                                                how the reports are compiled.”)

                                                            Other Admissibility Objections:

                                                               FRE 801 and 802 – Plaintiff’s
                                                                consumer disclosures are hearsay
                                                                and are not subject to any of the
                                                                exceptions listed in FRE 803 or
                                                                804.



3-4        Plaintiff’s Experian Consumer                    Authenticity Objection:
           Disclosures dated: August 18, 2017 and
           December 29, 2017                                   FRE 901(b)(1) - Plaintiff does not
             Produced by Experian as                           have personal knowledge of how
               EXPERIAN_18-CV-1538_000013-                      Experian credit reports or credit
               000206                                           disclosures are created. See, e.g.,
                                                                Egan v. Idaho Credit Union, No.
                                                                4:15-cv-00471-DCN, 2017 U.S.
                                                                Dist. LEXIS 161634, at *9 (D.
                                                                Idaho Sept. 29, 2017) (a credit


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                                                               report may only be deemed
                                                               admissible with testimony from an
                                                               individual with actual knowledge
                                                               of how the credit reports were
                                                               created); Gannon v. IC Sys., No.
                                                               09-60302, at *4 (S.D. Fl. Sept. 25,
                                                               2009) (“The Court's own research
                                                               into the admissibility of credit
                                                               reports under the business record
                                                               exception reveals that such reports
                                                               are admissible when there is
                                                               testimony from someone at the
                                                               credit bureau with knowledge of
                                                               how the reports are compiled.”)

                                                          Other Admissibility Objections:

                                                              FRE 801 and 802 – Plaintiff’s
                                                               consumer disclosures are hearsay
                                                               and are not subject to any of the
                                                               exceptions listed in FRE 803 or
                                                               804.




X.     STATEMENT OF OBJECTIONS TO THE ADMISSIBILITY OF ANY
       EVIDENCE EXPECTED TO BE OFFFERED FOR ANY REASON

       Chase submits the following objections to the admissibility of certain exhibits Plaintiff

included on her exhibit list:2




       2
                Per His Honor’s Individual Policies and Procedures, the deadline for filing
 motions in limine will be determined at the Rule 16 Conference and will be confirmed in the
 Scheduling Order. No such deadline appears in any of the Scheduling Orders entered in this
 action. Chase anticipates that His Honor will set a deadline for the parties to file motions in
 limine at the final pretrial conference on April 8, 2020. Chase intends to file motions in limine
 regarding the evidence identified in the above chart, as well as other motions in limine.




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Exhibit EVIDENCE PROFERRED BY PLAINTIFF                       BASIS FOR OBJECTION
   No.
1.      Declaration of Mary Methvin & Exhibits               FRE 801 and 802 – The
        attached thereto                                      declaration and the exhibits are
                                                              hearsay and are not subject to
           Declaration was produced by Experian in           any of the exceptions listed in
            discovery without bates-numbers and the           FRE 803 or 804.
            Exhibits attached to the Declaration are
            bates-numbered       EXPERIAN_18-CV-
            1538_000285-00030


14.     Deposition of Kimberly Cave, 30(b)(6)                FRE 801 and 802 – the
        Witness for Experian in Another Action                deposition is hearsay and it is
                                                              not subject to any of the
           Plaintiff did not produce the deposition          exceptions listed in FRE 803 or
            transcript during discovery. Instead, she         804.
            attached portions of same to her Opposition
            to Chase’s Motion for Summary Judgment.          The deposition was taken in a
                                                              different action. Chase was not
           Plaintiff has only provided Chase with            a party to this other action and
            excerpts from the deposition. The full            Chase did not have the
            deposition has not been produced in this          opportunity to participate in the
            case.                                             deposition from this other
                                                              action.

9       ACDV response from Chase to Experian                 FRE 402;403 – Irrelevant
        dated January 10, 2017 for Account                    evidence is not admissible.
        4266**** (CHASE 00001-00003)                          Plaintiff’s FCRA claim is based
                                                              solely on the October 2017
                                                              Disputes. A dispute that
                                                              Plaintiff submitted to Experian
                                                              9 months before the instant
                                                              dispute has no bearing on
                                                              whether Chase performed a
                                                              reasonable investigation in
                                                              response to the October 2017
                                                              dispute. It is well-settled that a
                                                              furnisher is only required to
                                                              review the four corners of an
                                                              ACDV in its investigation of a
                                                              dispute. See, e.g., Maiteki v.
                                                              Marten Transp., Ltd., Civil
                                                              Action No. 12-cv-2021-WJM-
                                                              CBS, 2015 U.S. Dist. LEXIS
                                                              140470at *31 (D. Colo. Oct.



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                                            15, 2015), aff’d., 828 F.3d 1272
                                            (10th Cir. 2016) ("[t]he
                                            wording of the notice of
                                            dispute, as the furnisher
                                            receives it from the CRA [ ]
                                            constrains the investigation: the
                                            furnisher need only respond to
                                            the specific dispute, as it is
                                            received.”); Farren v. RJM
                                            Acquisition Funding, LLC, No.
                                            04-995, 2005 U.S. Dist. LEXIS
                                            15230, at *6 (E.D. Pa. July 26,
                                            2005) ("The statute does not
                                            require . . . any data furnisher to
                                            take extraordinary means to
                                            investigate and discover
                                            disputed information but rather
                                            calls for a more passive
                                            investigation where the data
                                            furnisher is determining only
                                            that the information provided to
                                            it matches the information in its
                                            records."); Jenkins v. LVNV
                                            Funding, LLC, No. 14-CV-
                                            5682 (SJF), 2017 U.S. Dist.
                                            LEXIS 57513, at *33-34
                                            (E.D.N.Y. Feb. 28, 2017)
                                            (rejecting plaintiff’s argument
                                            that a furnisher is obligated to
                                            look beyond information
                                            contained in an ACDV where
                                            plaintiff failed to identify a
                                            specific item in his credit
                                            reports that he alleged to be
                                            inaccurate); Noel v. First
                                            Premier Bank, 2012 U.S. Dist.
                                            LEXIS 32595, at *9 (M.D. Pa.
                                            Mar. 12, 2012) (rejecting
                                            plaintiff’s argument that his
                                            dispute was bona fide because
                                            such inquiry is determined
                                            based upon the information that
                                            was actually provided to the
                                            furnisher, instead of the
                                            plaintiff’s “after-the-fact
                                            elaboration on the information



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                                                       contained in the
                                                       correspondence and argument
                                                       based on what he intended to
                                                       request/assert regarding the
                                                       basis for his dispute.”)
                                                       (emphasis in original).

                                                       Introducing other disputes
                                                       Plaintiff made to Experian will
                                                       confuse the issues and mislead
                                                       the jury, especially if Plaintiff
                                                       makes it appear that the only
                                                       disputes she submitted to the
                                                       CRAs       about    her     Chase
                                                       Accounts were about the “Date
                                                       of Status.” Plaintiff also lodged
                                                       disputes with the CRAs about
                                                       the Chase Accounts claiming
                                                       that they did not belong to her;
                                                       the amounts reported were
                                                       incorrect;    identity      fraud;
                                                       consumer not liable for
                                                       account; included in bankruptcy
                                                       of another person, etc.

10.    ACDV response from Chase to TransUnion         FRE 402; 403 – Irrelevant
       dated March 10, 2017 for Account 4266****       evidence is not admissible.
       (CHASE 00019-00021); *                          Plaintiff’s FCRA claim is based
                                                       solely on the October 2017
                                                       Disputes.      A dispute that
                                                       Plaintiff submitted to Trans
                                                       Union, a different CRA is not
                                                       relevant.        It has been
                                                       established in this case that the
                                                       “Date of Status” only appears
                                                       on       Experian       consumer
                                                       disclosures. A dispute to Trans
                                                       Union regarding an Experian
                                                       only reported field will mislead
                                                       the jury, especially if Plaintiff
                                                       makes it appear that the only
                                                       disputes she submitted to the
                                                       CRAs       about    her     Chase
                                                       Accounts were about the “Date
                                                       of Status.” Plaintiff also lodged
                                                       disputes with the CRAs about



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                                                    the Chase Accounts claiming
                                                    that they did not belong to her;
                                                    the amounts reported were
                                                    incorrect;    identity    fraud;
                                                    consumer not liable for
                                                    account; included in bankruptcy
                                                    of another person, etc.

11.    ACDV response from Chase to Experian        FRE 402; 403 – Irrelevant
       dated January 11, 2017 for Account           evidence is not admissible.
       4417**** (CHASE 00052-00054); *              Plaintiff’s FCRA claim is based
                                                    solely on the October 2017
                                                    Disputes. A dispute that
                                                    Plaintiff submitted to Experian
                                                    9 months before the instant
                                                    dispute is not relevant. It is
                                                    well-settled that a furnisher is
                                                    only required to review the four
                                                    corners of an ACDV in its
                                                    investigation of a dispute. See,
                                                    e.g., Maiteki v. Marten Transp.,
                                                    Ltd., Civil Action No. 12-cv-
                                                    2021-WJM-CBS, 2015 U.S.
                                                    Dist. LEXIS 140470at *31 (D.
                                                    Colo. Oct. 15, 2015), aff’d., 828
                                                    F.3d 1272 (10th Cir. 2016)
                                                    ("[t]he wording of the notice of
                                                    dispute, as the furnisher
                                                    receives it from the CRA [ ]
                                                    constrains the investigation: the
                                                    furnisher need only respond to
                                                    the specific dispute, as it is
                                                    received.”); Farren v. RJM
                                                    Acquisition Funding, LLC, No.
                                                    04-995, 2005 U.S. Dist. LEXIS
                                                    15230, at *6 (E.D. Pa. July 26,
                                                    2005) ("The statute does not
                                                    require . . . any data furnisher to
                                                    take extraordinary means to
                                                    investigate and discover
                                                    disputed information but rather
                                                    calls for a more passive
                                                    investigation where the data
                                                    furnisher is determining only
                                                    that the information provided to
                                                    it matches the information in its



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                                              records."); Jenkins v. LVNV
                                              Funding, LLC, No. 14-CV-
                                              5682 (SJF), 2017 U.S. Dist.
                                              LEXIS 57513, at *33-34
                                              (E.D.N.Y. Feb. 28, 2017)
                                              (rejecting plaintiff’s argument
                                              that a furnisher is obligated to
                                              look beyond information
                                              contained in an ACDV where
                                              plaintiff failed to identify a
                                              specific item in his credit
                                              reports that he alleged to be
                                              inaccurate); Noel v. First
                                              Premier Bank, 2012 U.S. Dist.
                                              LEXIS 32595, at *9 (M.D. Pa.
                                              Mar. 12, 2012) (rejecting
                                              plaintiff’s argument that his
                                              dispute was bona fide because
                                              such inquiry is determined
                                              based upon the information that
                                              was actually provided to the
                                              furnisher, instead of the
                                              plaintiff’s “after-the-fact
                                              elaboration on the information
                                              contained in the
                                              correspondence and argument
                                              based on what he intended to
                                              request/assert regarding the
                                              basis for his dispute.”)
                                              (emphasis in original).

                                             Introducing other disputes
                                              Plaintiff made to Experian will
                                              confuse the issues and mislead
                                              the jury, especially if Plaintiff
                                              makes it appear that the only
                                              disputes she submitted to the
                                              CRAs       about    her     Chase
                                              Accounts were about the “Date
                                              of Status.” Plaintiff also lodged
                                              disputes with the CRAs about
                                              the Chase Accounts claiming
                                              that they did not belong to her;
                                              the amounts reported were
                                              incorrect;    identity      fraud;
                                              consumer not liable for



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                                                       account; included in bankruptcy
                                                       of another person, etc.

12     AUD from Chase for Account No. 4417****,       FRE 402; 403 – Irrelevant
       dated November 17, 2017 (CHASE 00109-           evidence is not admissible.
       00111); *                                       Plaintiff’s FCRA claim is based
                                                       solely on the October 2017
                                                       Disputes. An AUD is not the
                                                       same as an ACDV. An AUD is
                                                       not triggered by a Plaintiff’s
                                                       dispute to the CRA. Rather,
                                                       furnisher’s regularly submit
                                                       AUDs to update account
                                                       information it notices requires
                                                       an update. Introducing Chase’s
                                                       AUD will confuse the issues
                                                       and mislead the jury, especially
                                                       since it was submitted after
                                                       Experian        changed       the
                                                       challenged information to what
                                                       Plaintiff believes it should have
                                                       been. The AUD has nothing to
                                                       do with the Subject Disputes.

17.    Deposition of Emily Coulter                    FRE 801 and 802 – Chase
       *See Note following Chart                       objects generally to the
                                                       admission      of      Plaintiff’s
                                                       Deposition Testimony in lieu of
                                                       Plaintiff testifying at trial.
                                                       Plaintiff’s           Deposition
                                                       Testimony is hearsay and is not
                                                       subject to any of the exceptions
                                                       listed in FRE 803 or 804.

18.    Deposition of Ramsey Coulter                   FRE 801 and 802 – Chase
                                                       objects generally to the
                                                       admission of Ramsey Coulter’s
                                                       Deposition Testimony in lieu of
                                                       Ramsey Coulter testifying at
                                                       trial.     Ramsey Coulter’s
                                                       Deposition    Testimony      is
                                                       hearsay and is not subject to
                                                       any of the exceptions listed in
                                                       FRE 803 or 804.

18.    Deposition of Ramsey Coulter and/or Trial      FRE 801 and 802 – Ramsey
       Testimony from Him Regarding the                Coulter’s deposition testimony


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       Contents of Plaintiff’s Experian Consumer           of the contents of Plaintiff’s
       Disclosures and/or Credit Reports, as well as       Experian Consumer Disclosures
       Plaintiff’s credit score.                           and/or Credit Reports, as well
                                                           as Plaintiff’s credit score, is
           Ramsey Coulter Dep. Tr. at pp. 28-35;          double hearsay and it is not
            104:13-107; 154-155                            subject to any of the exceptions
                                                           listed in FRE 803 or 804.

18.    Deposition of Ramsey Coulter and/or Trial          FRE 701 and 702 – Ramsey
       Testimony from Him Regarding the Impact             Coulter was not designated as
       of Chase’s furnishing of information on             an expert in this case and the
       Plaintiff’s credit score.                           deadline for Plaintiff to identify
                                                           an expert has expired. Ramsey
           Ramsey Coulter Dep. Tr. at pp. 28-35;          Coulter may not render lay
            104:13-107.                                    opinion testimony about the
                                                           impact, if any, of Chase’s
                                                           furnishing of information on
                                                           Plaintiff’s credit score and the
                                                           meaning       or    impact      of
                                                           Experian’s “Date of Status”
                                                           field.


       Deposition Testimony of Ramsey Coulter             FRE 701 and 702 – Ramsey
       and/or Trial Testimony from Him Regarding           Coulter may not render lay
       Plaintiff’s alleged damages.                        opinion      testimony      about
                                                           Plaintiff’s alleged anxiety,
                                                           emotional       distress,    other
                                                           medical symptoms, or any of
                                                           Plaintiff’s alleged damages as
                                                           he is not qualified to do so.

                                                          FRE 801 and 802 –Ramsey
                                                           Coulter may not testify about
                                                           any conversation he had with
                                                           Plaintiff or anyone else
                                                           regarding Plaintiff’s alleged
                                                           damages, such testimony is
                                                           hearsay and it is not subject to
                                                           any of the exceptions listed in
                                                           FRE 803 and 804.

18.    Deposition of Ramsey Coulter and/or Trial          FRE 701 and 702 – Ramsey
       Testimony from Him Regarding the Fair               Coulter was not designated as
       Credit Reporting Act.                               an expert in this case and the
                                                           deadline for Plaintiff to identify



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           Ramsey Coulter Dep. Tr. at pp. 43-45.                an expert has expired. Ramsey
                                                                 Coulter may not render lay
                                                                 opinion testimony about the
                                                                 Fair Credit Reporting Act,
                                                                 which      requires     expert
                                                                 testimony.

16.    Deposition of John Ulzheimer                             FRE 801 and 802 – Chase
                                                                 objects generally to the
                                                                 admission of John Ulzheimer’s
                                                                 Deposition Testimony in lieu of
                                                                 him      testifying   at   trial.
                                                                 Plaintiff’s           Deposition
                                                                 Testimony is hearsay and is not
                                                                 subject to any of the exceptions
                                                                 listed in FRE 803 or 804.

19.    Expert Report of John Ulzheimer and                      FRE 801 and 802 – Chase
       Exhibits thereto                                          objects generally to the
                                                                 admission of John Ulzheimer’s
                                                                 expert report and exhibits
                                                                 thereto as hearsay and not being
                                                                 subject to any of the exceptions
                                                                 listed in FRE 803 or 804.

N/A    Evidence/Testimony of Plaintiff’s Out-of-                Evidence of out-of-pocket
       Pocket Expenses                                           expenses should be precluded
                                                                 from trial because this type of
           Plaintiff did not produce any evidence of            expense is not compensable
            out-of-pocket expenses in discovery and              under the FCRA.             See
            testified at her deposition that she could not       Sassaman v. Rushmore Loan
            articulate or monetize her purported                 Mgmt. Servs., LLC, No. 1:15-
            damages.                                             cv-1487, 2016 U.S. Dist.
                                                                 LEXIS 173187, at 6-7 (M.D.
                                                                 Pa. Dec. 15, 2016) (“Out-of-
                                                                 pocket expenses such as
                                                                 postage fees, credit monitoring,
                                                                 printing and copying costs,
                                                                 mileage expended, and costs of
                                                                 notifying an agency or creditor
                                                                 that a report is inaccurate are
                                                                 not actual damages under the
                                                                 FCRA.”) (collecting cases).

       Evidence/Testimony of Plaintiff’s Actual                 A plaintiff cannot recover
       Damages from any witness                                  damages that are based upon
                                                                 sheer speculation, guesswork,


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     Plaintiff did not produce any evidence of       or conjecture.       Jackson &
      actual damages caused by Chase in               Coker, Inc. v. Lynam, 840 F.
      discovery and testified at her deposition       Supp. 1040, 1052 (E. D. Pa.
      that she could not articulate or monetize       1993), aff'd, 31 F. 3d 1172 (3d
      her purported damages.                          Cir. 1994). Instead, a plaintiff
                                                      has to provide a foundation, in
                                                      the form of a reasonable
                                                      quantity of information, upon
                                                      which the trier of fact can form
                                                      a     fair     and    reasonable
                                                      assessment of the amount of his
                                                      loss.        Petock    v.Thomas
                                                      Jefferson University, No. 84
                                                      5937, 1986 U.S. Dist. LEXIS
                                                      30246, at *9 (E.D. Pa. Jan.
                                                      21,1986); Aetna Freight Lines,
                                                      Inc., 368 F.2d 345 (3rd Cir.
                                                      1966). Plaintiff must not be
                                                      permitted to introduce evidence
                                                      of the existence any actual
                                                      damages caused by Chase’s
                                                      credit     furnishing    or    to
                                                      speculate, without a scintilla of
                                                      evidence, that she actually
                                                      incurred these damages or that
                                                      these damages were caused by
                                                      Chase.

                                                     Plaintiff has not produced any
                                                      documentation evidencing her
                                                      current and prior credit scores
                                                      and is therefore unable to show
                                                      that her credit score decreased
                                                      as a result of Chase’s credit
                                                      furnishing.         Accordingly,
                                                      Plaintiff cannot establish that
                                                      actual damages, injury to her
                                                      credit rating and/or a decreased
                                                      credit occurred when she has no
                                                      evidence to establish a base line
                                                      by which the trier of fact could
                                                      conclude       that      Chase’s
                                                      furnishing caused her actual
                                                      damages, injury to her credit
                                                      worthiness and/or decreased her
                                                      credit score.



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                                                         Further, Plaintiff’s credit score
                                                          and credit reputation are
                                                          derived from the information
                                                          contained in her credit reports.
                                                          Plaintiff has failed to produce
                                                          even a single copy of her credit
                                                          report.

Nos. 15 Exhibits to Deposition Transcripts of David      Chase objects to a blanket
- 18    Rivera, John Ulzheimer, Plaintiff, and            admission of all exhibits from
        Coulter Ramsey                                    these depositions.      Because
                                                          Plaintiff did not specify which
                                                          exhibits from each deposition
                                                          she seeks to admit, Chase is
                                                          unable to specifically object to
                                                          each one. Chase incorporates
                                                          by reference the objections
                                                          identified herein to the extent
                                                          the exhibits to the deposition
                                                          transcripts are the same
                                                          documents.




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Chase objects to the introduction of Plaintiff’s deposition transcript, as she should be required to

appear in person as the plaintiff in this case, but if Plaintiff is allowed to use her deposition

testimony in lieu of live testimony, Chase designates the following portions from her deposition

transcript for its case-in-chief:3

                17:3-24; 18-3




3
        Chase makes the same objection and reservation with respect to the deposition transcript
        of David Rivera, Chase’s 30(b)(6) witness.
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     58:6-24; 59:1-14; 24; 60:1-5.




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175:6-24; 176:1.




XI.    OBJECTION TO THE ADMISSIBILITY OF ANY OPINION TESTIMONY
       FROM LAY WITNESSES PURSUANT TO FEDERAL RULE OF EVIDENCE 701

       Chase objects to the admissibility of any opinion testimony from Plaintiff’s husband,

Ramsey Coulter, or any other lay witness regarding the topics outlined in Section X.

XII.   DEPOSITION TESTIMONY (INCLUDING VIDEO DEPOSITION TESTIMONY)
       THAT THE PARTY INTENDS TO OFFER DURING ITS CASE-IN-CHIEF

       A.      Deposition Testimony of Chase’s 30(b)(6) Representative David Rivera

       At this juncture, Chase does not anticipate using any of Mr. Rivera’s deposition

testimony during its case-in-chief because it intends to call Mr. Rivera as a witness. However,

Chase reserves the right to use Mr. Rivera’s deposition testimony during its case-in-chief, in the


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event travel restrictions are still in effect at the time of trial because Mr. Rivera resides in

Chicago and would have to take a plane to travel to Philadelphia.

        Chase respectfully reserves the right to amend and/or supplement its pretrial memo at a

later date.



                                                    Respectfully submitted,

Date: April 3, 2020                                 /s/ Jenny N. Perkins
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this day, a true and correct copy of the foregoing

Defendant’s Pretrial Memo was served on the following via electronic service through the

Electronic Case Filing System for the Eastern District of Pennsylvania

                                    Daniel Zemel, Esquire
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Dated: April 3, 2020
                                                    /s/ Jenny N. Perkins
                                                    Jenny N. Perkins




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